                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF IOWA
                               CENTRAL DIVISION



 UNITED STATES OF AMERICA,
                 Plaintiff,                                  No. CR 11-3021
 vs.                                   ORDER REGARDING
                                  MAGISTRATE’S REPORT AND
 MICHAEL ERVIN OHOTTO,                 RECOMMENDATION
                                   CONCERNING DEFENDANT’S
          Defendant.                      GUILTY PLEAS
                     ____________________


                        I. INTRODUCTION AND BACKGROUND
         On June 23, 2011, a two-count Indictment was returned against the defendant
Michael Ervin Ohotto. On August 10, 2011, the defendant appeared before United States
Magistrate Judge Jon S. Scoles and entered pleas of guilty to Counts 1 and 5 of the
Indictment. On August 10, 2011, Judge Scoles filed a Report and Recommendation in
which he recommended that defendant’s guilty pleas be accepted. On August 10, 2011,
Defendant filed a Waiver of Objections to Report and Recommendation. The court,
therefore, undertakes the necessary review of Judge Scoles' recommendation to accept
defendant’s pleas in this case.


                                       II. ANALYSIS
         Pursuant to statute, this court’s standard of review for a magistrate judge’s Report
and Recommendation is as follows:
                A judge of the court shall make a de novo determination of
                those portions of the report or specified proposed findings or
                recommendations to which objection is made. A judge of the
                court may accept, reject, or modify, in whole or in part, the

       Case 3:11-cr-03021-LRR-CJW        Document 68      Filed 08/16/11    Page 1 of 2
              findings or recommendations made by the magistrate [judge].

28 U.S.C. § 636(b)(1). Similarly, Federal Rule of Civil Procedure 72(b) provides for
review of a magistrate judge’s Report and Recommendation on dispositive motions and
prisoner petitions, where objections are made, as follows:
              The district judge to whom the case is assigned shall make a de
              novo determination upon the record, or after additional
              evidence, of any portion of the magistrate judge’s disposition
              to which specific written objection has been made in
              accordance with this rule. The district judge may accept,
              reject, or modify the recommended decision, receive further
              evidence, or recommit the matter to the magistrate judge with
              instructions.
FED. R. CIV. P. 72(b).
       In this case, no objections have been filed, and it appears to the court upon review
of Judge Scoles' findings and conclusions, that there is no ground to reject or modify them.
Therefore, the court accepts Judge Scoles' Report and Recommendation of August 10,
2011, and accepts defendant’s pleas of guilty in this case to Counts 1 and 5 of the
Indictment.
       IT IS SO ORDERED.
       DATED this 16th day of August, 2011.




    Case 3:11-cr-03021-LRR-CJW         Document 68       Filed 08/16/11    Page 2 of 2
